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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF PUERTO RICO


IN RE:
                                                               CASE NO. 13-09987-MCF
MARCOS IGNACIO MARQUEZ HERNANDEZ
MARGARITA ABREU GONZALEZ
                                                               CHAPTER 13
            DEBTOR(S)


          TRUSTEE’S MOTION ON NON DELIVERY OF TAX REFUNDS
TO THE HONORABLE COURT:

     Comes now Alejandro Oliveras Rivera, Chapter 13 Trustee and
respectfully states and prays:

     1.     Debtor(s) confirmed / approved plan contains a provision
devoting income tax refunds to its funding.


     2.     To    this    date,      debtor(s)    has    not    placed    on     the   record
whether they were entitled or not to a tax refund for the pertinent
year(s).
            Tax Refunds for year 2013, 2014, 2015 and 2016.


     3.     To gauge the extent of debtor(s) non-compliance a review
     of the income tax returns is necessary. Thus, debtor(s) should
     provide copy of the same.


     4.     Debtor(s) is(are) not member(s) of the U.S. Armed Forces,
     the Coast Guard, the Public Health Service or the National
     Oceanic      and    Atmospheric       Administration,       as     evidenced      by   the
     Certificate issued by the U.S. Department of Defense, copy of
     which   is    attached         only   to   the   original    of     this    motion     and
     movant’s copy.

     WHEREFORE,         for   the    reasons    stated   above     it    is     respectfully
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Delivery tax refunds.
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requested from the Court to enter an order directing debtor(s) to
submit the corresponding tax returns.

30 DAY NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST : You are hereby
notified that you have thirty (30) days from the date of this notice to
file and opposition to the foregoing motion and to request a hearing. If
no opposition is filed within the prescribed period of time, the Trustee’s
Motion will be deemed unopposed and may be granted without further hearing
unless (1) the requested relief is forbidden by law; (2) the requested
relief is against public policy; or (3) in the opinion of the Court, the
interest of justice requires otherwise. If a timely opposition is filed,
the Court will schedule a hearing as a contested matter.


     CERTIFICATE OF SERVICE: I hereby certify that on this same date I
electronically filed the above document with the Clerk of the Court using
the CM/ECF System which sent a notification of such filing to all those who
in this case have registered for receipt of notice by electronic mail. I
further   certify    that   I   have   served   to    the   U.S.   Trustee,
ustpregion21.hr.ecf@usdoj.gov and by depositing true and exact copies
thereof in the United States Mail, postage prepaid, to the non CM/ECF
participants: debtor(s) the mailing address of record.


RESPECTFULLY SUBMITTED in San Juan, Puerto Rico this, November 09, 2017.



                                                    /s/ Alejandro Oliveras Rivera
                                                     ALEJANDRO OLIVERAS RIVERA
                                                               CHAPTER 13 TRUSTEE
                                                                 P.O. Box 9024062
                                                          San Juan, PR 00902-4062
                                                       Tel. 977-3500 Fax 977-3521
                                                                          CCD-JAR
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                                                                                                                                                                                          SCRA 4.0




SSN:                           XXX-XX-1565
Birth Date:
Last Name:                     MARQUEZ HERNANDEZ
First Name:                    MARCOS
Middle Name:                   IGNACIO
Status As Of:                  Nov-08-2017
Certificate ID:                CWVE53058P6C8FL

                                                                                On Active Duty On Active Duty Status Date

            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

                                                      This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                        Left Active Duty Within 367 Days of Active Duty Status Date

            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

                                         This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                 The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

         Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

                                            This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
           Case:13-09987-MCF13 Doc#:45 Filed:11/09/17 Entered:11/09/17 09:58:51                                                          Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
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Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
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                                                                       Results as of : Nov-08-2017 02:27:18 PM

                                                                                                                                                                                          SCRA 4.0




SSN:                           XXX-XX-9979
Birth Date:
Last Name:                     ABREU GONZALEZ
First Name:                    MARGARITA
Middle Name:
Status As Of:                  Nov-08-2017
Certificate ID:                6JGV5NWPHZTW1SD

                                                                                On Active Duty On Active Duty Status Date

            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

                                                      This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                        Left Active Duty Within 367 Days of Active Duty Status Date

            Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

                                         This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                 The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

         Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                     NA                                                   NA                                                     No                                          NA

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